             Case 2:04-cr-00251-RSL              Document 189       Filed 11/29/05    Page 1 of 4



1                                                             Chief Judge Robert S. Lasnik
2

3

4

5

6

7

8                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
9                                            AT SEATTLE
10   UNITED STATES OF AMERICA,         )                      Case No. CR04-251L
                                       )
11                    Plaintiff,       )
                                       )
12              v.                     )
                                       )                      STIPULATED ORDER
13   KENNETH STONE,                    )                      CONTINUING TRIAL DATE
     DEBRA L. STONE and                )
14   GEORGE CORRELL,                   )
                                       )
15                    Defendants.      )
     _________________________________ )
16

17            On November 14, 2005, this Court conducted a status conference to determine a
18   trial date. Based on the records and files herein and the stipulated representations of
19   defense counsel and the government, the Court finds that:
20            1.          The trial in this matter was scheduled to begin on November 14, 2005.
21            2.          Counsel for Kenneth Stone, John Crowley, was not available to begin trial
22                        on this date because he is presently involved in a jury trial in the matter of
23                        State v. Preston Traxler, 04-1-00389-6, a homicide case in King County
24                        Superior Court, the Honorable Judge McBroom presiding. That trial is not
25                        expected to finish for a few more days.
26            3.          This Court proposed a trial date to begin on December 5, 2005, before
27                        another District Judge, with an expectation that it would conclude on
28                        December 8, 2005. Counsel for Mr. Correll was not available to begin trial

     ORDER CONTINUING TRIAL DATE/                                                         UNITED STATES ATTORNEY
                                                                                           700 Stewart Street, Suite 5220
     United States v. Kenneth Stone, et al.— 1                                            Seattle, Washington 98101-1271
     Case No. CR04-251L                                                                            (206) 553-7970
             Case 2:04-cr-00251-RSL              Document 189      Filed 11/29/05    Page 2 of 4



1                         on December 5, 2005, but was available to start on December 6, 2005.
2                         Three trial days was not deemed sufficient time to complete this case.
3                         Further, counsel for Ms. Stone indicated her preference to keep the trial in
4                         front of this Court.
5             4.          This Court proposed a trial date to begin on January 3, 2005.
6             5.          At the status conference, after having conferred with their respective
7                         counsel, defendants Kenneth Stone, Debra Stone and George Correll each
8                         represented to the Court that they understood the reasons for the
9                         continuance and stipulated to the need for a continuance. They agreed to a
10                        trial date of January 3, 2005.
11            6.          The government consents to the continuance.
12            7.          The ends of justice outweigh the best interests of the public and the
13                        defendants in a speedy trial. Failure to grant a continuance would have
14                        denied continuity of counsel for Defendant Kenneth Stone, whose counsel
15                        was handling a jury trial in another case. Further, rescheduling the trial for
16                        January 3, 2006, ensures that counsel will be fully prepared to represent his
17                        client in court.
18            8.          None of the defendants is in custody pending the trial in this matter.
19            For all the foregoing reasons, IT IS HEREBY ORDERED, nunc pro tunc, that the
20   trial date is continued from November 14, 2005, to January 3, 2006.
21   ////
22   ////
23   ////
24

25

26

27

28


     ORDER CONTINUING TRIAL DATE/                                                         UNITED STATES ATTORNEY
                                                                                           700 Stewart Street, Suite 5220
     United States v. Kenneth Stone, et al.— 2                                            Seattle, Washington 98101-1271
     Case No. CR04-251L                                                                            (206) 553-7970
             Case 2:04-cr-00251-RSL              Document 189   Filed 11/29/05      Page 3 of 4



1             IT IS FURTHER ORDERED that pursuant to Title 18, United States Code,
2    Section 3161(h), the period of time from the date of the status conference on November
3    14, 2005, to the new trial date shall be excluded in the computation of time under the
4    Speedy Trial Act.
5             DATED this 28th day of November, 2005.
6

7                                                          A
                                                           Robert S. Lasnik
8
                                                           United States District Judge
9    Presented by:
10   s/ Janet Freeman
     JANET FREEMAN
11
     WSBA #24599
12   Assistant United States Attorney
     United States Attorney’s Office
13   700 Stewart Street, Suite 5220
14
     Seattle, Washington 98101-3903
     Phone: (206) 553-7729
15   Fax: (206) 553-0755
     e-mail: Janet.Freeman@usdoj.gov
16

17
     s/ Allen M. Ressler
     (per telephonic approval)
18   ALLEN M. RESSLER
     WSBA #5330
19   RESSLER & TESH
20   Penthouse Suite
     821 Second Avenue, Suite 2200
21   Seattle, Washington 98104
     Phone: (206) 388-0332
22

23   s/ John R. Crowley
     (per telephonic approval)
24   JOHN R. CROWLEY
     WSBA #19868
25
     Attorney at Law
26   601 Union Street, Suite 4610
     Seattle, Washington 98101-4050
27   Phone: (206) 625-7500
28


     ORDER CONTINUING TRIAL DATE/                                                         UNITED STATES ATTORNEY
                                                                                           700 Stewart Street, Suite 5220
     United States v. Kenneth Stone, et al.— 3                                            Seattle, Washington 98101-1271
     Case No. CR04-251L                                                                            (206) 553-7970
           Case 2:04-cr-00251-RSL     Document 189   Filed 11/29/05   Page 4 of 4



1    s/ Lenell Nussbaum
     (per telephonic approval)
2
     LENELL NUSSBAUM
3    WSBA #11140
     Attorney at Law
4    2001 Western Avenue, Suite 200
     Seattle, Washington 98121-2114
5
     Phone: (206) 728-0996
6

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                                         UNITED STATES ATTORNEY
                                                                          700 Stewart Street, Suite 5220
                                                                         Seattle, Washington 98101-1271
     CERTIFICATE OF SERVICE                                                       (206) 553-7970
